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 5 Attorney for Defendant,
   ERICA CALDWELL
 6
                                 UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                        CASE NO.: 2:17-cr-00221-JAD-EJY
 9              Plaintiff,
                                                      STIPULATION TO MODIFY PRE-TRIAL
10 vs.                                                RELEASE CONDITION
11 ERICA CALDWELL
             Defendants.
12

13               STIPULATION TO MODIFY PRE-TRIAL RELEASE CONDITION
14
            IT IS HEREBY STIPULATED AND AGREED by and between Christopher Burton,
15
     Assistant United States Attorney, Counsel for UNITED STATES OF AMERICA, and Maysoun
16
     Fletcher, Esq., Counsel for Defendant ERICA CALDWELL, that Ms. Caldwell’s conditions of pre-
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18 trial release (ECF 20) be modified as follows: Condition Number 20 should be replaced with

19          “Travel is restricted to the states of Nevada and California, unless pre-approved by Pre-

20 Trial Services. Pre-Trial Services requires one-week notice in advance of any travel outside of

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     Nevada and California and defendant must provide Pretrial Services an itinerary for any such travel
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     outside of Nevada and California.”
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            Counsel for the Defendant and the United States have consulted with Ms. Caldwell’s Pre-
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     Trial Services Officer, Jessie Moorehead, who has no objection to the modification and Mr. Burton
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26 hereby defers to Pre-Trial Services discretion.
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 1          DATED: October 21, 2020.

 2
      /s/ Christopher Burton                    ___/s/ Maysoun Fletcher______
 3
   Christopher Burton, Esq.                     Maysoun Fletcher, Esq.
 4 Assistant United States Attorney             5510 South Fort Apache Road
   501 Las Vegas Boulevard South #500           Las Vegas, Nevada 89148
 5 Las Vegas, Nevada 89101                      Attorney for Defendant, Erica Caldwell
 6                                               ORDER
 7
            IT IS HEREBY ORDERED that Ms. Caldwell’s conditions of pre-trial release (ECF No.
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     20) are modified by replacing Condition No. 20 with the following language: “Travel is restricted
 9
     to the states of Nevada and California, unless pre-approved by Pre-Trial Services. Pre-Trial
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11 Services requires one-week notice in advance of any travel outside of Nevada and California and

12 defendant must provide Pre-Trial Services an itinerary for any such travel outside of Nevada and

13 California.”

14          IT IS SO ORDERED.
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            DATED this 21st day of October, 2020.
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                                                               U.S. MAGISTRATE JUDGE
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